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 Fill in this information to identify your case:
 Debtor 1               Leslie R Tucker
                              Full Name (First, Middle, Last)
 Debtor 2
 (Spouse, if filing)          Full Name (First, Middle, Last)
                                                                     SOUTHERN DISTRICT OF
 United States Bankruptcy Court for the                                  MISSISSIPPI                                  Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
 Case number:                                                                                                         have been changed.
 (If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                            12/17


 Part 1:       Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                           debts must be provided for in this plan.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                           (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                           is filed. See Bankruptcy Rule 3015.

                           The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2           Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $183.00 ( monthly, semi-monthly, weekly, or                   bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                         MS DEPT OF CHILD PROTECTION
                         660 NORTH ST
                         JACKSON MS 39201



APPENDIX D                                                                     Chapter 13 Plan                                                 Page 1
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 Debtor                Leslie R Tucker                                                                 Case number

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3          Income tax returns/refunds.

             Check all that apply
                      Debtor(s) will retain any exempt income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

3.1          Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

             Check all that apply.
              None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
      Insert additional claims as needed.

3.2          Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                          amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                          at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                          or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                          creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


 Name of creditor Estimated amount of                                    Collateral             Value of collateral   Amount of secured claim Interest rate*
                  creditor's total claim #



 World Omni                                                     2014 Toyota Camry
 Financial                             $16,839.00               59,000 miles                         $14,000.00                 $14,000.00             6.75%

Insert additional claims as needed.

#For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

       Name of creditor                                              Collateral                   Amount per month                      Beginning
 -NONE-                                                                                                                      month

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

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 Debtor                Leslie R Tucker                                                            Case number


 For vehicles identified in § 3.2: The current mileage is


 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Motion to avoid lien pursuant to 11 U.S.C. § 522.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                     The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                     that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
                     under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
                     treated in Part 5 below.

                   Name of Creditor                                                                             Collateral
 Conns Credit Corp                                                                   furniture
 DriveTime Credit Co                                                                 2009 Infinity G37
 Santander Consumer USA                                                              2011 Volkswagen Jetta

Insert additional claims as needed.



 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

                  No look fee:          3,400.00

                   Total attorney fee charged:                       $3,400.00

                   Attorney fee previously paid:                     $157.00

                   Attorney fee to be paid in plan per
                   confirmation order:                               $3,243.00

                  Hourly fee: $             . (Subject to approval of Fee Application.)

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.




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4.5          Domestic support obligations.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $
                 0.00 % of the total amount of these claims, an estimated payment of $ 0.00
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Other separately classified nonpriority unsecured claims (special claimants). Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
                          The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

           Name of Creditor                          Basis for separate classification   Approximate amount owed             Proposed treatment
                                                              and treatment
                                                                                                                    PAY AS UNSECURED DEBT
 FedLoan Servicing                                Educational                                        $165,397.00    (NON DISCHARGEABLE DEBT)

Insert additional claims as needed.



 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

 7.1         Property of the estate will vest in the debtor(s) upon entry of discharge.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.




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 Debtor                Leslie R Tucker                                                       Case number

 Part 9:      Signatures:

9.1       Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X                                                                       X
     /s/ Leslie R. Tucker
     Leslie R Tucker                                                           Signature of Debtor 2
     Signature of Debtor 1

       Executed on            December 21, 2018                                Executed on

       880 William Blvd
       Apt 716
       Address                                                          Address
       Ridgeland MS 39157-0000
       City, State, and Zip Code                                        City, State, and Zip Code

       Telephone Number                                                 Telephone Number


 X     /s/ Edwin Woods Jr.                                              Date     December 21, 2018
       EDWIN WOODS, JR. MSB# 8893
       Signature of Attorney for Debtor(s)
       5760 I55 NORTH
       SUITE 100
       Jackson, MS 39211
       Address, City, State, and Zip Code
       601-353-5000                                                     8893 MS
       Telephone Number                                                 MS Bar Number
       LWILKINSON@BONDNBOTES.COM
       Email Address




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